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5

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7

8                      IN THE UNITED STATES DISTRICT COURT
9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,     )            CASE NO. 2:09-CR-358 WBS
                                   )
12                  Plaintiff,     )
                                   )
13        v.                       )            STIPULATION AND [PROPOSED]
                                   )            ORDER TO EXCLUDE TIME
14   JOSE OLIVERA ZAPIEN, et.al.   )
                                   )
15                                 )
                    Defendant.     )
16   ______________________________)
17

18          The parties request that the status conference in this case
19   be continued from November 21, 2011 to January 23, 2012 at 9:30
20   a.m.   They stipulate that the time between November 21, 2011 and
21   January 23, 2012 should be excluded from the calculation of time
22   under the Speedy Trial Act.       The parties stipulate that the ends
23   of justice are served by the Court excluding such time, so that
24   counsel for the defendant may have reasonable time necessary for
25   effective preparation, taking into account the exercise of due
26   diligence.    18 U.S.C. § 3161(h)(7)(B)(iv)and Local Code T-4.
27   Specifically, all defense counsel need additional time to review
28   the discovery provided and investigate the case.          Well over 2000

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1    pages of discovery and 80 CD’s containing video, audio recordings
2    and photographs have been provided to the defense counsel to
3    date.   Defense counsel are still reviewing approximately 1200 new
4    pages of discovery provided by the government in January 2011.
5    Further, the parties are actively engaged in plea negotiations
6    and it is anticipated this time period will aide in the
7    resolution of this case for a number of parties.          The parties
8    stipulate and agree that the interests of justice served by
9    granting this continuance outweigh the best interests of the
10   public and the defendants in a speedy trial.          18 U.S.C. §
11   3161(h)(7)(A).
12

13                                             Respectfully Submitted,
14                                             BENJAMIN B. WAGNER
                                               United States Attorney
15

16
     DATE: November 17, 2011            By:     /s/ Heiko P. Coppola
17                                             HEIKO P. COPPOLA
                                               Assistant U.S. Attorney
18

19
     DATE: November 17, 2011                    /s/ Michael Petrick
20                                             MICHAEL PETRICK
                                               Attorney for Defendant Jose
21                                             Olivera Zapien
22                                              /s/ Gilbert Roque
                                               GILBERT ROQUE
23                                             Attorney for Defendant Ramiro
                                               Suarez
24
                                                /s/ Ruben Munoz
25                                             RUBEN MUNOZ
                                               Attorney for Defendant Adolfo
26                                             Valencia Alvarez
27                                              /s/ Olaf Hedberg
                                               OLAF HEDBERG
28                                             Attorney for Defendant Jose
                                               Quintero Fernandez

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1                                               /s/ Clemente Jimenez
                                               CLEMENTE JIMENEZ
2                                              Attorney for Defendant Jose
                                               Moreno Gutierrez
3

4                                               /s/ Tim Pori
                                               TIM PORI
5                                              Attorney for Defendant Erik
                                               Aguilar Lara
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9                                              SO ORDERED.
10
     DATE:   November 17, 2011
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